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                                13   Attorneys for Plaintiff
                                14                       UNITED STATES DISTRICT COURT
                                15                    SOUTHERN DISTRICT OF CALIFORNIA
                                16   STEPHEN HINE, on Behalf of          Case No. 3:16-cv-02787-JM-JLB
                                     Himself and All Others Similarly
                                17   Situated,,                          CLASS ACTION
                                18                Plaintiff,             PLAINTIFF’S NOTICE OF
                                                                         MOTION AND MOTION TO
                                19         v.                            REMAND
                                20   SCOTTRADE, INC., and DOES 1
                                     through 25, inclusive,,             Date:              January 6, 2017
                                21                                       Time:              1:00 p.m.
                                                  Defendants.            District Judge:    Jeffrey T. Miller
                                22                                       Courtroom:         5D,5th Fl.-Schwartz
                                23
                                                                         Complaint Filed: October 3, 2015
                                24                                       Trial Date:      Not Set
                                25                                       JURY TRIAL DEMANDED
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                                                                                     Case No. 3:16-cv-02787-JM-JLB
00111962
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                                 1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                 2         PLEASE TAKE NOTICE that on January 6, 2016, at 1:00 p.m., or as soon
                                 3   thereafter as the matter may be heard in Courtroom 5D of the above-entitled
                                 4   court, located at 221 West Broadway, San Diego, CA 92101, Plaintiff Stephen
                                 5   Hine, will, and hereby does, move this Court for an order remanding this action
                                 6   back to San Diego County Superior Court and for attorneys’ fees.
                                 7         This motion is made pursuant to 28 U.S.C. §1447(c), on the grounds that
                                 8   because Plaintiff does not have Article III standing, the Court does not have
                                 9   subject matter jurisdiction. Thus, the Court must remand the case. Additionally,
                                10   attorneys’ fees are justified because defendant Scottrade, Inc. removed the case
 BLOOD HURST & O’REARDON, LLP




                                11   knowing that the Court does not have jurisdiction.
                                12         Plaintiff’s motion is based on this notice, the memorandum and declaration
                                13   in support thereof filed concurrently herewith, and such further oral or
                                14   documentary evidence as may be presented at the hearing of this motion. These
                                15   documents were all filed at least twenty-eight (28) days before the hearing
                                16   pursuant to Local Rule 7.1(e)(1).
                                17         Based on the foregoing, Plaintiff respectfully requests the Court order the
                                18   action be remanded to the Superior Court for the State of California, County of
                                19   San Diego, and for attorneys’ fees to Plaintiff.
                                20                                           Respectfully submitted,
                                21   Dated: November 21, 2016               BLOOD HURST & O’REARDON, LLP
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                                22                                          THOMAS J. O’REARDON II (247952)
                                                                            PAULA R. BROWN (254142)
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                                24                                          By:          s/ Timothy G. Blood
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                                 1                           CERTIFICATE OF SERVICE
                                 2         I hereby certify that on November 21, 2016, I electronically filed the
                                 3   foregoing with the Clerk of the Court using the CM/ECF system which will send
                                 4   notification of such filing to the e-mail addresses denoted on the Electronic Mail
                                 5   Notice List, and I hereby certify that I have mailed the foregoing document or
                                 6   paper via the United States Postal Service to the non-CM/ECF participants
                                 7   indicated on the Electronic Mail Notice List.
                                 8         I certify under penalty of perjury under the laws of the United States of
                                 9   America that the foregoing is true and correct. Executed on November 21, 2016.
                                10
                                                                                      s/ Timothy G. Blood
 BLOOD HURST & O’REARDON, LLP




                                11                                                   TIMOTHY G. BLOOD
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